8:98-cr-00126-LES-FG3     Doc # 619   Filed: 05/03/07   Page 1 of 2 - Page ID # 490



                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:98CR126
                              )
          v.                  )
                              )
DONALD WILLY,                 )                   ORDER
                              )
               Defendant.     )
______________________________)


            On May 3, 2007, the defendant appeared with counsel for

a hearing on a Petition for Warrant for Offender Under

Supervision (Filing No. 614).         Defendant was present and

represented by David O’Neill, Assistant Federal Public Defender.

Plaintiff was represented Maria Moran, Assistant United States

Attorney.    The defendant admitted allegations numbered 2 through

6, inclusive.     The plaintiff dismissed allegation numbered 1.

The Court then proceeded to a dispositional hearing.

            IT IS ORDERED:

            1)   The defendant’s supervised release is hereby

revoked and the defendant is sentenced to the custody of the

Bureau of Prisons for time served.

            2) Defendant is placed on supervised release for a

period of thirty-six (36) months.           He shall enter and participate

in a community confinement program, in the community correction’s

component with work release for a period of one hundred twenty
8:98-cr-00126-LES-FG3   Doc # 619   Filed: 05/03/07   Page 2 of 2 - Page ID # 491



(120) days or until discharged by the United States Probation

Office pursuant to 18 U.S.S.G. 3563(b)(11).

           3) Defendant shall enter and participate in the

cognitive thinking program provided by the United States

Probation Office for this District.

           DATED this 3rd day of May, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
